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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                               SOUTHWESTERN DIVISION

United States of America,                    )
                                             )
               Plaintiff,                    )       INTERSTATE AGREEMENT ON
                                             )       DETAINERS ORDER
       vs.                                   )
                                             )
Dylon Jay Biloff,                            )       Case No. 1:15-cr-043
                                             )
               Defendant.                    )


       On May 18, 2015, defendant Dylon Jay Biloff made his initial appearance and was arraigned

in the above-entitled action. AUSA Jennifer Holmes appeared on the Government’s behalf.

Attorney John D. Bruhn appeared on defendant’s behalf.

       Prior to his initial appearance, defendant was incarcerated by the State of North Dakota at

the Stutsman County Correctional Center (“SCCC”) in Jamestown, North Dakota. After the

superseding indictment in this case was returned and an arrest warrant issued, a detainer was filed

by the United States with the North Dakota prison officials. Pursuant to the Interstate Agreement

on Detainers Act (“IADA”), defendant’s appearance before this court for his initial appearance and

arraignment was secured by a writ of habeas corpus ad prosequendum.

       During the hearing, defendant was advised of his rights under the IADA to continued federal

custody until the charges set forth in the superseding indictment are adjudicated. Defendant

knowingly, voluntarily, and upon advice of counsel waived the anti-shuttling provisions of the

IADA and in open court and agreed to his continued housing by the State of North Dakota (the

“sending state” under the IADA) at SCCC pending further proceedings in this case initiated by the

United States (the “receiving state” under the IADA). The United States did not object.

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       Accordingly, the court ORDERS that defendant be housed in the “sending state” under the

IADA pending further proceedings or until further order of the court. Further, pursuant to

defendant’s waiver, the return of the defendant to his place of incarceration pending trial shall not

be grounds under the IADA for dismissal of the charges set forth in the indictment.

       Dated this 18th day of May, 2015.


                                              /s/ Charles S. Miller, Jr.
                                              Charles S. Miller, Jr., Magistrate Judge
                                              United States District Court




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